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Clerk of Court
U.S. Court of Appeals for the Fifth Circuit
F. Edward Herbert Building
600 S. Maestri Place
New Orleans, LA 70130

          RE:        Airlines for America et al. v. Department of Transportation, No. 24-
                     60231, and Spirit Airlines, Inc. v. Department of Transportation,
                     No. 24-60373: Urgent request for priority in resolving first-filed
                     stay motion and merits in Airlines for America

Dear Mr. Cayce:

       Petitioners in this case (the Airlines) respectfully ask this Court to rule
on their motion for a stay pending appeal, which has been fully briefed for
nearly a month and which was filed on June 14, 2024, before further address-
ing the “Emergency Motion for Administrative Stay, for Stay Pending Re-
view, and Notice of Joinder” (“Emergency Motion”) filed nearly a month
and a half later in Spirit Airlines, Inc. v. Department of Transportation, No. 24-
60373. Earlier today, a panel of this Court carried Spirit’s “Emergency Mo-
tion” with the case and ordered expedited briefing in Spirit’s case. Spirit Air-
lines, No. 24-60373, Doc. 27-2. The Airlines respectfully submit that the Court
should prioritize addressing the Airlines’ stay motion in Airlines for America,
No. 24-60231, and, if necessary, set expedited briefing in Airlines for America,
which was the first-filed and first-briefed case, on behalf of the entire airline
industry prejudicially affected by the Rule, and which presents the strongest
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arguments that the Rule is unlawful. As explained below, the Rule will im-
pose massive costs on the airline industry—costs growing more threatening
by the day given the October 30, 2024, deadline set by the Rule for sharing
micro-mandated information with ticket agents. The Airlines respectfully
ask that a copy of this letter be shared as soon as possible with any judges
reviewing Airlines for America, No. 24-60231, or Spirit Airlines, No. 24-60373,
and also filed on the docket in Spirit Airlines, No. 24-60373. The Court may
also wish to consolidate the cases with Airline for America in the lead, so that
Spirit’s request does not prejudice the rest of the airline industry.

       To explain: On May 10, 2024, within the 10-day window in 28 U.S.C.
§ 2112(a)(1), the Airlines filed the first challenge to the Department of Trans-
portation (DOT’s) rule captioned Enhancing Transparency of Airline Ancillary
Service Fees, 89 Fed. Reg. 34,620 (Apr. 30, 2024) (the Rule). As the Airlines
have explained (Doc. 50), more than a month and a half later, Spirit Airlines,
Inc., filed its own separate challenge to the Rule in the Eleventh Circuit. On
July 23, 2024, this Court docketed Spirit Airlines’ petition at a new case num-
ber after the Eleventh Circuit transferred Spirit’s petition to this Court. Sev-
eral days later still, Spirit filed its “Emergency Motion,” and Frontier Group
Holdings, Inc., which had not filed a timely petition, see 49 U.S.C. § 46110(a)
(60-day time limit), moved to intervene in Spirit’s case. See Spirit Airlines,
No. 24-60373, Docs. 7, 12.

       The Airlines and Spirit agree that the Rule is unlawful, that it should
be stayed pending appeal, and that it should ultimately be set aside as inva-
lid. But the Airlines respectfully request that this Court rule on their motion
for a stay pending judicial review before further addressing Spirit’s “Emer-
gency Motion,” which a motions panel has now ordered be carried with
Spirit’s case. The Airlines filed their stay motion a month and a half ago on
June 14, and the motion has been fully briefed and ripe for decision for nearly
a month. Spirit waited until nearly a month later, and several days after its
petition was transferred to this Court, to file its “Emergency Motion.”

      Good cause supports the Airlines’ request:

      First, the Airlines were the first parties to file a challenge to the Rule
and to diligently pursue judicial relief. Those efforts properly put the Rule
before this Court and set a timeline for review, including for filing of the

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agency record, which has now been filed in this case, despite the later dead-
line now set in Spirit’s case. The policy of the statute and basic first-in-time
fairness support addressing the Airlines’ motion first. See 28 U.S.C.
§ 2112(a)(1), (5).

      Second, despite their late filing, Spirit and Frontier are already repre-
sented by the National Air Carrier Association (NACA), one of the Airline
petitioners in Airlines for America. Both Spirit and Frontier are members of
NACA. Relatedly, any interim or permanent relief the Court issues should
apply to all airlines, so neither Spirit nor Frontier will suffer any prejudice if
the Court decides the Airlines’ motion first. See Airlines for America, No. 24-
60231, Doc. 52. Despite Spirit and Frontier’s claims that they too need to seek
interim relief, this Court’s controlling precedent makes clear that relief from
an agency rule is not party-specific under the Administrative Procedure Act.

      Third, the Airlines, including the trade groups representing a vast
swath of airlines—Airlines for America, the National Air Carrier Associa-
tion, and the International Air Transport Association—all believe that the
arguments advanced in the Airlines’ stay motion present the strongest chal-
lenges to the Rule and thus the challenges most warranting immediate and
priority review. Spirit agrees with those challenges but seeks to add addi-
tional arguments of its own, and to put them before the Court first. The Air-
lines respectfully submit that the best arguments, which are already fully
briefed before the Court, require a stay and ultimately vacatur of the Rule,
and ask that the Court not wait for briefing on Spirit’s tertiary arguments.

       Fourth, ruling first and expeditiously on the Airlines’ motion would
obviate many of the timing issues Spirit raises. By promptly seeking a stay,
the Airlines have remained hopeful that the Court will consider granting re-
lief as the Rule’s effective dates approach. If the Court rules on the Airlines’
motion by August 15, 2024, the date chosen by Spirit for its “Emergency Mo-
tion,” it will have addressed the key issues in the case two months after the
Airlines filed their stay motion. That said, if the Court believes that these
motions warrant further study, the Airlines request that the Court issue a
temporary administrative stay beginning June 14, 2024 (when the Airlines
filed their stay motion), and extending until the Court’s resolution of the
Airlines’ stay motion. The Rule makes the disclosures-to-ticket-agents


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provision effective in just three months (October 30, 2023), see 89 Fed. Reg.
at 34,622, available at Airlines for America, No. 24-60231, Doc. 18, at 4, and, as
the Airlines have explained, complying with that onerous requirement will
consume considerable time and expense. See, e.g., Airlines Mot. 24-25; SA68.

       Finally, addressing the Airlines’ motion first would promote judicial
economy and efficiency for the parties. A panel of the Court has ordered
expedited briefing in Spirit’s case. But the Airlines and Department of Trans-
portation have already fully briefed the core merits issues in the case—the
likelihood of success on the merits component of the stay inquiry—and the
case has been ripe for decision for nearly a month. The Court could thus po-
tentially obviate the need for expedited briefing and piecemeal considera-
tion in Spirit’s case by beginning with the Airlines’ stay motion. In addition,
the Airlines are already working on their merits brief, which is due Septem-
ber 3, 2024. The Airlines could expedite their brief, though, as noted, the
merits issues are fully briefed in Airlines for America. The Airlines respect-
fully submit that the Court should not wait until nearly two weeks before
the Airlines’ merits brief is due, further prejudicing the Airlines, to accom-
modate Spirit’s preferred schedule and litigation strategy, which does not
speak (unlike the Airlines) for the entire airline industry.

                                     Respectfully,


                                     Shay Dvoretzky
                                     Parker Rider-Longmaid

                                     Counsel for Petitioners Airlines for
                                      America, International Air Transport
                                      Association, & National Air Carrier
                                      Association




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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 29, 2024, I electronically filed the foregoing
document with the Clerk of Court for the United States Court of Appeals for
the Fifth Circuit by using the CM/ECF system. I certify that all participants
in the case are registered CM/ECF users and that service will be accom-
plished by the CM/ECF system.

Dated: July 29, 2024                        /s/ Shay Dvoretzky

                                            Shay Dvoretzky




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